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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In r¢: ; Chapter 11
ONCO INVESTMENT COMPANY, : Jointly Administered
a Delaware corporation, et al., : Case No. 04-10558 (TBR)
Debtors.
: M eon, Caine Ener dolitiows ,LLe. forAw
RDER CO LING TELY ASSUME ‘OR
REJECT ITS CONTRACT WITH ENLINE ENERGY SOLUTIONS, LLC

 

PURSUAN SECTION 3 2) OF THE BA U ODE OR

 

. ITS CONT CTW i DEB
Upon consideration of the Motion Compelling Debtors to Immediately Assume or Reject
all Executory Contract Pursuant to 11 U.S.C. § 365(d)(2) or, in the Alternative, Granting Relief
from the Automatic Stay to Terminate the Executory Contract for “Cause” Pursuant to 11 U.S.C.
§ 362(4\(1) (the “Motion”) of EnLine Energy Solutions, LLC (“EnLine”); and,
Upon consideration of any and all objections and/or responses that were filed in
opposition to the Motion; and,

Nolice of the Motion being adequate and sufficient; and,

After due deliberation aud sufficient cause appearing therefore;

OFNIED
IT IS HEREBY ORDERED that the Motion is GReAdFEEE. and

 
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DATE:

 

 
